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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                       Case No.
     Plaintiffs,
                                                                   0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                  PLAINTIFFS’ MOTION IN LIMINE #4 TO
  PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE CONCERNING
     THE RELIABILITY OF CHRISTOPHER STEELE OR FUSION GPS OR



                                             Introduction
         From the start, Defendants have asserted – in support of their assertion of the Reporter’s
  Privilege – that they were not arguing that they had relied on any information provided to them
  by any confidential source. And, in conformity with that position, both Mr. Bensinger and Mr.
  Smth each refused to answer any questions about conversations that they may or may not have
  had with either Christopher Steele or Fusion GPS. Indeed, Mr. Bensinger – who wrote an entire
  book on the FIFA soccer scandal in which he extensively quotes Christopher Steele and provides
  details that could only have been obtained through extensive interviews with Mr. Steele –
  refused even to explain on what basis he deemed Mr. Steele to be reliable (other than to say he
  had dealt with him in the past). Crucially, the refusal to testify about any conversations that
  Defendants (or Mr. Bensinger) had with any sources means that Plaintiffs were denied the
  opportunity to discover whether Defendants had any reason to believe that Mr. Steele or Fusion
  had done anything to verify the allegations contained in the Dossier prior to Buzzfeed’s
  publication of the same. Having claimed the Reporter’s Privilege as a “shield,” Defendants
  cannot also utilize the “sword,” by presenting evidence or testimony from Mr. Steele or Fusion



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                Similarly, having refused to answer questions concerning prior dealings with Mr.
  Steele or Fusion, Defendants cannot now offer testimony concerning reasons they believed either
  of them to be reliable.
                                               Argument
         Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
  (a) it has any tendency to make a fact more or less probable than it would be without the
  evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
  Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
  substantially outweighed by a danger of one or more of the following: unfair prejudice,
  confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
  cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
  June 2, 2015).
         Defendants here have been consistent in stating that they should not be required to
  provide any information about their sources or conversations with their sources because none of
  their defenses relied on the identity of such sources, the reliability of such sources, or
  information obtained from such sources. Despite these assertions, however, Defendants have
  designated significant portions of Mr. Steele’s and Fusion GPS’ deposition testimonies in which
                                                                                        Defendants
  cannot do this now given their earlier assertions that none of their defenses relied on anything
  they may have learned from their sources. It is time for Defendants to live up to these assertions.
         In his deposition, Mr. Bensinger refused to testify to any conversations he may have had
  with either Mr. Steele or Fusion.




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                                       such claims are relevant only to the extent that Defendants
  were aware of                       prior to publishing the defamatory materials. And, because
  Defendants have utilized the shield of the reporter’s privilege to avoid discussing any
  conversations that they may have had with Mr. Steele or Fusion prior to publishing the Dossier,
  they cannot now utilize the sword of testimony from these two sources in which
                                                                 See, e.g., Oak Beach Inn, Corp. v.
  Babylon Beacon, Inc., 62 N.Y.2d 158, 476 N.Y.S.2d 269 (1984) (holding that defendant
  newspaper could not rely on material withheld as absolutely privileged under the Shield Law to
  establish lack of malice: “the statutory [exemption] ... from contempt cannot be fairly read to
  include general exemption from the sanctions authorized by CPLR 3126, most of which function
  to prevent a party who has refused to disclose evidence from affirmatively exploiting or
  benefiting from the unavailability of the proof during the pending civil action”) cert denied, 469
  U.S. 1158 (1985); Garcia v. Padilla, 2016 U.S. Dist. LEXIS 29398 (M.D. Fla. Mar. 8, 2016)
  (“Behind the sword and shield doctrine is the premise that a party may not use privileged
  documents to prove a claim or defense, then hide behind the shield of privilege to prevent the
  opposing party from effectively challenging such evidence.”); Collins v. Troy Publishing, Co.,
  Inc., 623 N.Y.S.2d 663, 665 (3d Dep't 1995) (defendants are precluded from “using as a sword
  the information which they are shielding from disclosure” by invoking the reporters privilege.).
  cf. FTC v. Williams, Scott & Assocs., Ltd. Liab. Co., 679 F. App'x 836, 838 (11th Cir. 2017)
  (“By invoking his Fifth Amendment right not to testify at his deposition, Lenyszyn decided that
  ‘the advantages of silence—avoiding incrimination in a criminal investigation’ outweighed ‘the
  potential advantages’ of attempting to refute the FTC's evidence against him.... Having made that
  choice, Lenyszyn could not then ‘convert the privilege from [a] shield ... into a sword’ by putting
  his version of the facts into written affidavits and avoiding cross-examination.”).

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                                             Conclusion
         For the reasons stated hereinabove, Defendants should be precluded from eliciting or
  offering testimony or evidence concerning: (a) the reliability of Mr. Steele or Fusion GPS, or (b)




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  Respectfully Submitted:

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